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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 05-cv-02533-EWN-MJW

THOMAS MONTOYA,

Plaintiff,

Vv.

BOARD OF COUNTY COMMISSIONERS, CHAFFEE CO. /NTY, COLORADO,
CHAFFEE COUNTY SHERIFF TIMOTHY WALKER,

CHAFFEE COUNTY DEPUTY SHERIFF SCOTT GLENN,

DAVID PLATT,

BOARD OF COUNTY COMMISSIONERS, PARK COUNT '', COLORADO,
PARK COUNTY SHERIFF FRED WEGENER,

Defendants.

 

ORDER GRANTING UNOPPOSED MOT! CON TO VACATE
SETTLEMENT CONFERE*|(CE
C Pred Pe ibs )
The Court, having reviewed defendants’ Unoppose:! ‘vlotion to Vacate the Settlement
Conference of September 21, 2006, being duly advised in the premises, and for good cause

shown, DOES HEREBY grant the motion. The Settler-ent Conference currently set for

September 21, 2006, at 3:00 p.m. is vacated. @C

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&) The J Ct ret Cs pete By the Cuurt:

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yor Foret Te December |,2006, at 101004 “

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